                        UNITED STATES DISTRICT COURT
                           DISTRICT OF CONNECTICUT



JACKIE MADORE; AMANDA COOOPER
JAMES WHITTED, individually, and on                              CASE NO.: 3:20CV569 (MPS)
behalf of all others similarly situated
                     Petitioners

               vs.

DIANE EASTER, Warden of Federal
Correctional Institution at Danbury,
in their official capacity
                       Respondents

                                               JUDGMENT

       This action having come on for consideration before the Honorable Michael P. Shea,

United States District Judge, and

       The Court having considered the full record of the case including applicable principles of law,

and having filed its ruling on October 19, 2020 approving the Settlement Agreement and dismissing

this case subject to the Court’s reserving and retaining exclusive jurisdiction to the full extent

necessary to enforce the Settlement; it is therefore

       ORDERED, ADJUDGED and DECREED that the judgment be and is hereby entered in

accordance with the Settlement Agreement and dismissing this case subject to the Court’s

reserving and retaining exclusive jurisdiction to the full extent necessary to enforce the Settlement.

       Dated at Hartford, Connecticut, this 20th day of October, 2020.

                                                          ROBIN D. TABORA, Clerk

                                                          By_______/s/_____________
                                                          Devorah Johnson
                                                          Deputy Clerk

EOD10/20/20
